       Case 2:21-mj-03396-DUTY Document 1 Filed 07/20/21 Page 1 of 1 Page ID #:1

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                                                                   L J~ ,"•t1'~L~~~
                                                            n~
                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIt~ 'E ~ I n '~ .,.:. r~.
                                                            CASE NUMBER

 (~ni~e~ ~Ps o~ ~ne~(l(
                                             PLAINTIFFS)
                               V.



        ,I                                                               DECLARATION RE
~DM~1(~ N 1               ~S~Q~           DEFExnnx~.(s).             OUT-OF-DISTRICT WARRANT



The above-named defendant was charged by:
~ ~e       ~l,IS~'P.n(~           District of~    i ~) ~/~~        on ~~/Zpit
at ~ ~ a.m./ ❑ .m. The offense was allege y comrrutted on or about
in violation of T'tle                         U.S.C., Sections) ~ u
to ,mot:       Nn~nS           r r~      .~         ,w~ co,:rr.n.~
A warrant for defendant's arrest was issued by:    ~~G U ' f\1 ~                   uS/~~

Bond of$                               was pset /~ recommended.

Type of Bond:

Relevant documents) on hand (attach):


I declare under penalty of perjury that the foregoing is true and correct.

Executed on
                        Da e



Sign       e of   ent                                        Pnnt Name of Agent


~   ~
Agenry                                                       Title




CR-52(03/20)                          DECLARATION RE OiTT-OF-DISTRICT WARRANT
